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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


JUAN HERNANDEZ and ROSENDO                          )
HERNANDEZ                                           )       Case No. 23 CV 01737
                                                    )
                              Plaintiff,            )
                                                    )       Hon. Jeremy C. Daniel
                                                    )
               vs.                                  )
                                                    )       Magistrate Heather K. McShain
                                                    )
REYNALDO GUEVARA, GERILYNN                          )       JURY DEMAND
YANOW, as special representative of the             )
ESTATE OF ERNEST HALVORSEN and                      )
ROBERT DEGRAFF, JOSEPH                              )
MIEDZIANOWSKI, JOEL BEMIS, ROBERT                   )
BIEBEL, and the CITY OF CHICAGO                     )
                           Defendants.              )

                                            ORDER

       This matter having come to be heard for Entry of an Order Allowing Equipment into the

Everett McKinley Dirksen U.S. Courthouse for the Deposition of Cook County Inmate Nelson

Pacheco, due notice hereof having been given, and the Court being fully advised, it is hereby

       ORDERED that the Motion for Entry of an Order Allowing Equipment into the Everett

McKinley Dirksen U.S. Courthouse for the Deposition of Inmate Nelson Pacheco is hereby

GRANTED as follows:

   For the purposes of deposing inmate Nelson Pacheco, Booking Number 20240509113, in the

above titled matter, the following equipment shall be permitted into the Everett McKinley

Dirksen U.S. Courthouse:

   1. A certified stenographer from Urlab Bowen & Associates, Inc., is permitted to bring the

       following equipment: (i) stenographic machine, (ii) microphone, (iii) paper clips, (iv)
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     tripod/stand for stenographic machine, (v) batteries, (vi) SD cards, (vii) pens, (viii)

     notepads, and (ix) exhibit stickers.

  2. A certified videographer from Urlab Bowen & Associates, Inc., is permitted to bring the

     following equipment: (i) camera, (ii) power cables for camera,(iii) pens, (iv) paper, (v)

     backpack, (vi) ethernet cables, (vii) tripod, (viii) headphones, (ix) power strip, (x) HDMI

     cables, (xi) monitors, (xii) SD cards, (xiii) mic cables, (xiv) laptop, (xv) microphone,

     (xvi) monitor stands, (xvii) microphone clips, (xviii) power supply for camera, (xix)

     mixer, (xx) laptop, (xxi) backdrop screen and stand, (xxii) USB and audio cables, (xxiii)

     roll cart, (xxiv) web cam, (xxv) audio recorder with power cable, (xxvi) backup camera

     and power cord, (xxvii) capture card and cables, (xxviii) microphone adapter, (xxix)

     mixer, and (xxx) tone generator.

SO ORDERED.

                                                    April 29, 2025

                                                    ENTER


                                                    _______________________________
                                                    Judge Jeremy C. Daniel
